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IN THE UNITED STATES DISTRICT COURT 207 JAN 9 PHO TI
FOR THE MIDDLE DISTRICT OF FLORIDA

  

| COURT
ORLANDO DIVISION Le bs 3] ne of an ORIDA
KLAR, FL
IN RE: Seroquel Products Liability Litigation, lp ‘Hy . ¢ Y- \K0 |

MDL DOCKET NO. 1769

Jannette M. Abear, John R. Abeyta, Rebecca Anderson, Individually and as the
Proposed Administrator of the Estate of Rhonda L. Nichols, Deceased, Monique
Armstrong, Daniel S. Baker, John Balbastro, Vaughn D. Banister, James H.
Barnebee, IV, Michael R. Bates, Bonnie A. Belille, Catherine Berkhan, Carnetta T.
Best, Michael P. Bierlich, Kathryn Blackwell, Carole Bonebrake, Phyona L.
Brackney, Lois C. Brown, Robert J. Cartier, Eloise Casto, Tonya Chmielorz, Daniel
S. Clauson, Angela L. Colwell, Christopher R. Conroy, Charles J. Conyers, Marcia
Corey, Connie M. Curley, Carolyn N. Curtis, Dorian D, Cuyler, Victoria Davidson,
as Next Friend of J.D., a Minor, Allen D. Dewitt, William D. Dixon, Debbie L.
Dupont, Ruth A Dupont, Amber D. Dutra, Brenda S. Echols, Dennis J. Eckert,
Laura S., Elfast, Gerald R. Elkins, Mary V. Emelio, Joan M. Episcopo, Lynda L.
Epps, Jasmine T. Fairbanks, James Fairley, Miguel A Fernandez, Tabitha Floyd,
Paula Francis, Francis R. Freeman, III, Georgia M. Fullard, Heather D. Gahman,
Luz G. Garcia, Michael G. Gebre, Pamela D. Getschmann, Richelle M Goettel,
Janie Grass, Barbara A. Gray, Margarita S. Guzman, Marion L. Hall, Jr., David D.
Haller, Martha J Hanning, Sherry L. Harrington, Christine M. Hernandez, Jason
A. Holmes, Lori L. Hulbert, Terry K. Ivers, Linda M. Jennings, Beverly Johnson,
Julie K. Johnson, Tom Johnson, Carolyn S. Jones, Danny C. Jones, Stephen T.
Karcezmarek, Jamie Kelly-Zieska, Kathe Kirby, Amy Klinebough, Mark Kohanek,
As Next Friend Of D.K., A Minor, Christopher M. Laroe, Debra G. Livesay,
Cynthia F. Lopez, Janet Lowe-Bernard, James S. Macdonald, Carolyn Madison,
Malinda K. Malek, Pamela A. Martinez, Barbara J. McCartney, Katrina
McMillian- Jones, Leone McMullen, on Behalf of Amika McMullen, an
Incapacitated Adult, Robert Michael, Allison Migdal, Marcella Miles, Barbara V.
Miqueli, Jennifer Miranda, Rodney W. Mitchell, Lisa L. Moon, Roy L. Moritz, Jr.,
Jonathan A. Morrow, Jr., Sharon Myhre, as Next Friend of S.M., a Minor,
Charlesdrake K. Namauu, Patricia Nazzaro, as Next Friend of K. Z., a Minor, Aira
J. Nelson, Chery! Nelson, Virginia Niswander, Kathy R. Nunley, John W. Otto,
Alma J. Parks, Tyler J. Peterson, Beverly Pinion, Individually and as the Proposed
Administrator of the Estate of Roberta Mazzarini, Deceased, Sandra L. Pinta, Velva
M. Queen, Terrance M. Reinsmith, Clifford M. Richardson, Melody Richmond,
Gary J. Ring, James L. Robbins, Danielle Roberts, Bridget R. Rose, Carmen G.
Russell, Linda D. Schubert, Catherine L. Scott, James E. Selario, Mary Sigmon,
Myron Simonsky, Alvenson Singleton, Sherree M. Sipple, Connie M. Smith,
Elizabeth Smith, Jennifer J. Smith, Robert B. Spangler, Phillip W. Spencer, Jeffrey
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L. Stacy, Terry L. Stephens, Gary Storck, as Next Friend of J.S., a Minor, Robin
Strickland-Garland, William B. Sumner, Jr., Kathleen Tanner, Fonda J. Townsend,
Chery] A. Trizzle, Richard Unger, David L. Walker, Carlease Warner, as Next
Friend of Q.W., a Minor, Dawn M. White, Willie White, Vera Williams, Michael
W.Wilson, Robert G. Windsor, Evelyn A. Winn, Starlett L. Wood, Simone Woolard,
as Next Friend of D.L., a Minor, Candace Wright, David A. Young, Matthew R.
Young, Nicholas J. Zinzeris v. AstraZeneca LP, et al.,

MDL DOCKET NUMBER

ANSWER OF ASTRAZENECA LP AND ASTRAZENECA
PHARMACEUTICALS LP TO PLAINTIFFS’ ORIGINAL COMPLAINT

Defendants AstraZeneca LP and AstraZeneca Pharmaceuticals LP (collectively
AstraZeneca’) answer Plaintiffs’ Original Complaint as follows:

This Answer is filed on behalf of AstraZeneca LP and AstraZeneca
Pharmaceuticals LP only, and AstraZeneca makes no response on behalf of other entities.
More specifically, AstraZeneca makes no response to the allegations of Plaintiffs’
complaint on behalf of Astra USA, Inc., AstraZeneca AB, AstraZeneca PLC, and KBI
Sub Inc. AstraZeneca states that, to its knowledge, there are no separate entities named
AstraZeneca R&D Boston and AstraZeneca R&D Wilmington.

I. INTRODUCTION

1. This is a civil action brought on behalf of Plaintiffs regarding personal injury
damages which occurred as a result of Plaintiffs’ ingestion of the prescription drug,
Seroquel, also known as Quetiapine Fumarate (hereinafter referred to as “Seroquel’”).
Seroquel was manufactured, marketed, distributed and sold to Plaintiffs by
Defendants and/or its representatives.

ANSWER: AstraZeneca admits that, pursuant to approval by the Food and
Drug Administration (“FDA”’), it manufactures, markets, distributes, and sells

SEROQUEL® (quetiapine fumarate) for prescription by licensed physicians in the
 

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United States. AstraZeneca denies that it sold SEROQUEL® to Plaintiffs, and states that

SEROQUEL® is dispensed by pharmacies pursuant to prescriptions written by licensed

physicians. AstraZeneca denies any remaining or inconsistent allegations of paragraph 1.
II. PARTIES

A. PLAINTIFFS

2. Plaintiffs are individuals who currently reside in, and are citizens of, the following
USS. States:

List of Plaintiffs (1-151)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

1 | Abear M. Jannette FL
2 | Abeyta R John ID
3 | Anderson, Individually and as the Rebecca FL
Proposed Administrator of the
Estate of Rhonda L. Nichols,
Deceased
4 | Armstrong Monique FL
5 | Baker S. Daniel NM
6 | Balbastro John NC
7 | Banister D. Vaughn MN
8 | Barnebee, IV H. James FL
9 | Bates R. Michael NC
10 | Belille A. Bonnie MN
11 | Berkhan Catherine FL
12 | Best T. Carnetta FL
13 | Bierlich P. Michael NH
14 | Blackwell Kathryn WA
15 | Bonebrake Carole FL
16 | Brackney L. Phyona AZ
17 | Brown C. Lois FL
18 | Cartier J. Robert MN
19 | Casto Eloise GA
20 | Chmielorz Tonya NH
21 | Clauson S. Daniel FL
22 | Colwell L. Angela OH
23 | Conroy R. Christopher | MN
24 | Conyers J. Charles GA

 

 

 
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25 | Corey Marcia IL
26 | Curley M. | Connie FL
27 | Curtis N. Carolyn TN
28 | Cuyler D. Dorian FL
29 | Davidson, as Next Friend of J.D., Victoria NC
a Minor
30 | Dewitt D. Alien NC
31 | Dixon D. William FL
32 | Dupont L. Debbie LA
33 | Dupont A Ruth MN
34 | Dutra D. Amber ID
35 | Echols S. Brenda FL
36 | Eckert J. Dennis PA
37 | Elfast S. Laura IN
38 | Elkins R. Gerald NC
39 | Emelio V. Mary VA
40 | Episcopo M. Joan FL
41 | Epps L. Lynda FL
42 | Fairbanks T. Jasmine MN
43 | Fairley James NC
44 | Fernandez A Miguel FL
45 | Floyd Tabitha MS
46 | Francis Paula FL
47 | Freeman, III R. Francis ME
48 | Fullard M. | Georgia NC
49 | Gahman D. Heather KS
50 | Garcia G. Luz FL
51 | Gebre G. Michael WA
52 | Getschmann D, Pamela TX
53 | Goettel M Richelle WA
54 | Grass Janie FL
55 | Gray A. Barbara TX
56 | Guzman S. Margarita WA
57 | Hall, Jr. L. Marion MS
58 | Haller D. David FL
59 | Hanning J Martha WV
60 | Harrington L. Sherry WA
61 | Hernandez M. Christine FL
62 | Holmes A. Jason WA
63 | Hulbert L. Lori UT
64 | Ivers K. Terry FL
65 | Jennings M. Linda WV

 
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66 | Johnson Beverly CA
67 | Johnson K. Julie WI
68 | Johnson Tom IL
69 | Jones S. Carolyn WV
70 | Jones C. Danny WA
71 | Karczmarek T. Stephen PA
72 | Kelly-Zieska Jamie MN
73 | Kirby Kathe AR
74 | Klinebough Amy WA
75 | Kohanek, as Next Friend of D.K., Mark MN
a Minor
76 | Laroe M.__| Christopher | NH
77 | Livesay G. Debra FL
78 | Lopez F, Cynthia FL
79 | Lowe-Bernard Janet FL
80 | MacDonald S. James MN
81 | Madison Carolyn OH
82 | Malek K. Malinda WA
83 | Martinez A. Pamela CA
84 | McCartney J. Barbara BS
85 | McMillian- Jones Katrina AL
86 | McMullen, on Behalf of Amika Leone WA
McMullen, an Incapacitated Adult
87 | Michael Robert FL
88 | Migdal Allison KY
89 | Miles Marcella IA
90 | Miqueli V. Barbara FL
91 | Miranda Jennifer FL
92 | Mitchell W. | Rodney FL
93 | Moon L. Lisa ID
94 | Moritz, Jr. L. Roy IA
95 | Morrow, Jr. A. Jonathan FL
96 | Myhre, as Next Friend of 8.M., a Sharon MN
Minor
97 | Namauu K. Charlesdrake | WA
98 | Nazzaro, as Next Friend of K.Z., a Patricia FL
Minor
99 | Nelson J. Aira MN
100 | Nelson Cheryl KY
101 | Niswander Virginia FL
102 | Nunley R. Kathy KY
103 | Otto W. | John IL

 

 
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104 | Parks J. Alma GA
105 | Peterson J. Tyler WA
106 | Pinion, Individually and as the Beverly FL

Proposed Administrator of the

Estate of Roberta Mazzarini,

Deceased
107 | Pinta L. Sandra FL
108 | Queen M._ | Velva OH
109 | Reinsmith M. Terrance FL
110 | Richardson M. Clifford OH
111 | Richmond Melody FL
112 | Ring J. Gary IN
113 | Robbins L. James FL
114 | Roberts Danielle MN
115 | Rose R. Bridget NC
116 | Russell G. Carmen FL
117 | Schubert D. Linda NC
118 | Scott L. Catherine OR
119 | Selario E. James FL
120 | Sigmon Mary NC
121 | Simonsky Myron FL
122 | Singleton Alvenson MI
123 | Sipple M. Sherree MN
124 | Smith M. Connie FL
125 | Smith Elizabeth NH
126 | Smith J. Jennifer FL
127 | Spangler B. Robert SD
128 | Spencer W. | Phillip IL
129 | Stacy L. Jeffrey CA
130 | Stephens L. Terry FL
131 | Storck, as Next Friend of J.S., a Gary MN

Minor
132 | Strickland-Garland Robin FL
133 | Sumner, Jr. B. William FL
134 | Tanner Kathleen FL
135 | Townsend J. Fonda KY
136 | Trizzle A. Cheryl IL
137 | Unger Richard FL
138 | Walker L. David WV
139 | Warner, as Next Friend of Q.W., a Carlease FL

Minor
140 | White M. Dawn FL

 

 
 

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141 | White Willie FL
142 | Williams Vera MN
143 | Wilson W. | Michael FL
144 | Windsor G. Robert ID
145 | Winn A. Evelyn RI
146 | Wood L Starlett WA
147 | Woolard, as Next Friend of D.L., a Simone VA
Minor

148 | Wright Candace MS
149 | Young A. David FL
150 | Young R. Matthew OR
151 | Zinzeris J Nicholas SC

 

ANSWER: _ AstraZeneca lacks knowledge or information sufficient to form a
belief as to the truth of the allegations of paragraph 2, and therefore denies same.
B. DEFENDANTS

3. Defendant ASTRAZENECA LP, is a company organized and existing
under the laws of the State of Delaware with its principal place of business at 50 Otis
Street, Westborough, MA 01581-4500. At all material times herein, this Defendant has
conducted business and advertised, marketed, promoted, sold and/or distributed Seroquel
in the State of Massachusetts. This Defendant may be served with process of this Court
upon its registered agent for service in Massachusetts, to wit: CT Corporation System,
101 Federal Street, Boston, MA 02110.

ANSWER: AstraZeneca admits that AstraZeneca LP is a Delaware limited
partnership, but denies that its principal place of business is located at 50 Otis Street,
Westborough, MA 01581-4500. AstraZeneca admits that AstraZeneca LP’s principal
place of business is located in Delaware. AstraZeneca admits that AstraZeneca LP
advertises, markets, promotes, distributes, and sells SEROQUEL®, a prescription
medication, in the State of Massachusetts. AstraZeneca admits that AstraZeneca LP’s
registered agent for service of process in Massachusetts is CT Corporation System, 101

Federal Street, Boston, MA 02110. AstraZeneca denies any remaining or inconsistent

allegations of paragraph 3.
 

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4. Defendant ASTRAZENECA PHARMACEUTICALS LP, is the general
partner of AstraZeneca LP, and is a company organized and existing under the laws of
the State of Delaware with its principal place of business in Delaware. At all material
times herein, this Defendant has conducted business and advertised, marketed, promoted,
sold and/or distributed Seroquel in the State of Massachusetts. This Defendant may be
served with process of this Court upon its registered agent for service in Massachusetts,
to wit: CT Corporation System, 101 Federal Street, Boston, MA 02110.

ANSWER: AstraZeneca admits that AstraZeneca Pharmaceuticals LP is the
general partner of AstraZeneca LP. AstraZeneca admits that AstraZeneca
Pharmaceuticals LP is a Delaware limited partnership with its principal place of business
in Delaware. AstraZeneca further admits that AstraZeneca Pharmaceuticals LP
advertises, markets, promotes, distributes, and sells SEROQUEL®, a prescription
medication, in the State of Massachusetts. AstraZeneca admits that AstraZeneca
Pharmaceuticals LP’s registered agent for service of process in Massachusetts 1s CT
Corporation System, 101 Federal Street, Boston, MA 02110, AstraZeneca denies any
remaining or inconsistent allegations of paragraph 4.

5. Defendant KBI SUB INC., is the limited partner of AstraZeneca LP, and
is a company organized and existing under the laws of the State of Delaware with its
principal place of business in New Jersey. At all material times herein, this Defendant
has conducted business and advertised, marketed, promoted, sold and/or distributed
Seroquel in the State of Massachusetts. This Defendants may be served with process of
this Court pursuant to M.G.L. 156D § 15.10, by serving the Massachusetts Secretary of
State, Corporations Division, who shall then mail the summons and complaint via

CM/RRR to Defendants’ proper address at: KBI SUB Inc., c/o Merck & Co., Inc., One
Merck Drive, Whitehouse Station, New Jersey 08889-0100.

ANSWER: AstraZeneca admits that KBI Sub Inc. is a Delaware corporation
with its principal place of business in New Jersey. AstraZeneca further admits that KBI
Sub Inc. is the limited partner of AstraZeneca LP. AstraZeneca denies that KBI Sub Inc.

is a proper defendant in this action. AstraZeneca lacks knowledge or information
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sufficient to form a belief as to the truth of the remaining allegations of paragraph 5, and
therefore denies same.

6. Defendant ASTRAZENECA AB, is the general partner of AstraZeneca
Pharmaceuticals LP, and is a foreign company with its principal place of business at SE-
151 85 Sédertalje, Sweden. At all material times herein, this Defendant has conducted
business and advertised, marketed, promoted, sold and/or distributed Seroquel in the
State of Massachusetts. This Defendant may be served with process via Registered,
Return Receipt Requested, International Mail to its principal place of business pursuant
to Articles 10(a) and 15 of the Hague Convention on the Service Abroad of Judicial and
Extrajudicial Documents in Civil or Commercial Matters..

ANSWER: AstraZeneca admits that AstraZeneca AB is a Swedish corporation
with its principal place of business in Sweden. AstraZeneca further admits that
AstraZeneca AB is the general partner of AstraZeneca Pharmaceuticals LP. AstraZeneca
denies that AstraZeneca AB is a proper defendant in this action. AstraZeneca lacks
knowledge or information sufficient to form a belief as to the truth of the remaining
allegations of paragraph 6, and therefore denies same.

7. Defendant ASTRA U.S.A., INC., is the limited partner of AstraZeneca
Pharmaceuticals LP, and is a company organized and existing under the laws of the State
of New York with its principal place of business at 128 Sidney Street, Cambridge, MA
02139. At all material times herein, this Defendant has conducted business and
advertised, marketed, promoted, sold and/or distributed Seroquel in the State of
Massachusetts. This Defendant may be served with process of this Court pursuant to
M.G.L. 156D § 15.10, by serving the Massachusetts Secretary of State, Corporations

Division, who shall then mail the summons and complaint via CM/RRR to Defendants’
proper address at: Astra U.S.A., Inc., 1800 Concord Pike, Wilmington, DE 19850-5437.

ANSWER: AstraZeneca admits that Astra USA, Inc. is a New York
corporation, but denies that its principal place of business is located at 128 Sidney Street,
Cambridge, MA 02139. AstraZeneca admits that the principal place of business of Astra
USA, Inc. is located in Delaware. AstraZeneca further admits that Astra USA, Inc. is a

limited partner of AstraZeneca Pharmaceuticals LP. AstraZeneca denies that Astra USA,
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Inc. is a proper defendant in this action. AstraZeneca lacks knowledge or information
sufficient to form a belief as to the truth of the remaining allegations of paragraph 7, and
therefore denies same.

8. Defendant ASTRAZENECA PLLC, is the ultimate parent company of all
Defendants, and is a foreign company with its principal place of business at 15 Stanhope
Gate, London, W1K 1LN, England, United Kingdom. This Defendant’s principal place
of business in the United States is located at 35 Gatehouse Drive, Waltham, MA 02451.
At all material times herein this Defendant has conducted business and advertised,
marketed, promoted, sold and/or distributed Seroquel in the State of Massachusetts. This
Defendant may be served with process via Registered, Return Receipt Requested,
International Mail to its principal place of business pursuant to Articles 10(a) and 15 of

the Hague Convention on the Service Abroad of Judicial and Extrajudicial Documents in
Civil or Commercial Matters.

ANSWER: AstraZeneca admits that AstraZeneca PLC is a corporation
organized under the laws of the United Kingdom but denies that its principal place of
business in the United States is located at 35 Gatehouse Drive, Waltham, MA 02451.
AstraZeneca admits that AstraZeneca PLC is the ultimate parent company of
AstraZeneca LP and AstraZeneca Pharmaceuticals LP. AstraZeneca denies that
AstraZeneca PLC is a proper defendant in this action. AstraZeneca lacks knowledge or
information sufficient to form a belief as to the truth of the remaining allegations of
paragraph 8, and therefore denies same.

9. These companies have acted together and in concert to cause Plaintiffs’
damages, and shall be hereinafter referred to collectively as “Defendants.”

ANSWER: AstraZeneca admits that Plaintiffs purport to refer to all named
Defendants collectively as “Defendants,” but denies that AstraZeneca caused Plaintiffs’
damages. AstraZeneca denies that the defendants in this action may be properly referred

to collectively and states that this Answer is filed on behalf of AstraZeneca LP and

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AstraZeneca Pharmaceuticals LP only. AstraZeneca denies any remaining or
inconsistent allegations of paragraph 9.
Wi. JURISDICTION & VENUE

10. This Court has jurisdiction over this lawsuit under 28 U.S.C. $1332(a)(1)
because all Plaintiffs are citizens of different states from all Defendants, and the amount
in controversy exceeds $75,000, excluding interest and costs. This Federal Court sitting
in diversity may exercise personal jurisdiction over Defendants under the Massachusetts
long-arm statute, which permits jurisdiction over a person to the full extent of the due
process clause of the United States Constitution. Venue is proper in this Court under 28
U.S.C. §1391(a)(1) because all Defendants “reside” in this judicial district as that term is
defined in 28 U.S.C. §1391(c) and other law, under 28 U.S.C. §1391(a)(2) in that a
substantial part of the events or omissions giving rise to these claims arose in this judicial
district, and/or, under 28 U.S.C. §1391(a)(3) because there is no district in which the
action may otherwise be brought and at least one Defendant is subject to personal
jurisdiction in this district.

ANSWER: AstraZeneca states that paragraph 10 states legal conclusions to
which no response is required. To the extent that the allegations regarding jurisdiction
over AstraZeneca are construed as factual allegations, AstraZeneca admits that it
transacts business in Massachusetts, but denies that it engaged in tortious acts in
Massachusetts. AstraZeneca further denies that any defendant in this action is a
Massachusetts resident. AstraZeneca lacks knowledge or information sufficient to form a
belief'as to the truth of the allegations of paragraph 10 regarding the citizenship of
Plaintiffs, and therefore denies same. To the extent that any remaining allegations of

paragraph 10 are construed as factual allegations, they are denied. AstraZeneca admits

that this Court has subject matter jurisdiction over this action.

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IV. FACTS

11. At all times relevant herein, Defendants were in the business of designing,
testing, monitoring, manufacturing, labeling, advertising, marketing, promoting, selling
and distributing pharmaceuticals, including Seroquel, for use by the mainstream public,
including Plaintiffs.

ANSWER: AstraZeneca admits that, pursuant to FDA approval, it designed,
tests, monitors, manufactures, labels, advertises, markets, promotes, sells, and distributes
SEROQUEL® for prescription by licensed physicians in the United States. AstraZeneca
denies that it sells prescription medications directly to the “mainstream public.”
AstraZeneca denies any remaining or inconsistent allegations of paragraph 11.

12. Seroquel is among a group of drugs known as “atypical antipsychotics” or

“second generation antipsychotics,” and was initially approved in September 1997 by the
U.S. Food and Drug Administration (hereinafter the “FDA”).

ANSWER: AstraZeneca admits that SEROQUEL® is an “antipsychotic”
medication and belongs to a class of drugs referred to as “atypical antipsychotics.”
AstraZeneca states that SEROQUEL® was approved by the FDA on September 26,

1997. AstraZeneca denies any remaining or inconsistent allegations of paragraph 12.
13. The initial indication for Seroquel approved by the FDA was solely for the

treatment of adults with schizophrenia, a relatively rare condition that affects less than
one percent of the population of the United States.

ANSWER: AstraZeneca states that SEROQUEL® was approved by the FDA
on September 26, 1997, and is indicated for the treatment of schizophrenia in adults.
AstraZeneca lacks knowledge or information sufficient to form a belief as to the truth of
the remaining allegations of paragraph 13, and therefore denies same.

14. In January 2004, Defendants received FDA approval to market Seroquel
for the short-term treatment of acute manic episodes associated with bipolar I disorder.

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ANSWER: AstraZeneca states that on January 12, 2004, the FDA approved
SEROQUEL® for use in the treatment of acute manic episodes associated with Bipolar I
disorder. AstraZeneca denies that such approval was directed to any other defendant in
this action. AstraZeneca denies any remaining or inconsistent allegations of paragraph
14.

15. Like schizophrenia, bipolar 1 disorder is relatively rare, also affecting less
than one percent of the population of the United States.

ANSWER: AstraZeneca lacks knowledge or information sufficient to form a
belief as to the truth of the allegations of paragraph 15, and therefore denies same.

16. Despite its limited approval, and relatively small indicated target
population, in 2005, Seroquel had become the thirteenth-best selling drug in the United
States, and has passed Zyprexa and Risperdal as the highest selling antipsychotic in the
United States. Seroquel’s worldwide sales in 1998, its first full year on the market were a
modest $63 million. According to Defendants’ 2005 Annual Report, worldwide Seroquel
sales exceeded $2.76 billion, which made Seroquel Defendants’ second highest selling
drug behind only Nexium at $4.63 billon.

ANSWER: AstraZeneca admits that worldwide sales of SEROQUEL® in
1998 were approximately $66 million. AstraZeneca further admits that worldwide sales
of SEROQUEL® in 2005 were approximately $2.76 billion. AstraZeneca admits that
worldwide sales of NEXIUM® in 2005 were approximately $4.63 billion. AstraZeneca
states that the remaining allegations of paragraph 16 are conclusory, vague, and
ambiguous, and therefore AstraZeneca lacks knowledge or information sufficient to form
a belief as to the truth of those allegations and denies same.

17. Critical to this blockbuster success was Defendants’ aggressive marketing
of Seroquel, which consisted chiefly of overstating the drug’s uses (including massive

off-label promotion), while understating and consciously concealing its life-threatening
side effects.

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ANSWER: AstraZeneca denies the allegations of paragraph 17.

18. Medical literature dating back as far as the 1950s, demonstrated that
Seroquel, like other atypical antipsychotics had the potential to cause diabetes, diabetes-
related injuries (e.g. severe weight gain, hyperglycemia, diabetic ketoacidosis),
pancreatitis, cardiovascular complications, and other severe adverse effects. Defendants’
own pre-clinical studies regarding Seroquel confirmed this to Defendants. Despite this
knowledge, Defendants never attempted to provide an adequate warning label until they
were finally forced to do so by the FDA.

ANSWER: AstraZeneca admits that there have been reports of weight gain and
hyperglycemia in people who were prescribed SEROQUEL®, but denies that
SEROQUEL® causes diabetes. AstraZeneca denies any remaining or inconsistent
allegations of paragraph 18.

19. Shortly after Seroquel’s product launch and first widespread usage, the
number of adverse event reports involving diabetes-related illnesses associated with

Seroquel, spiked. These reports were filed with the FDA’s Medwatch database, all of
which were reported and known to Defendants.

ANSWER: AstraZeneca admits that, following the FDA’s 1997 approval of
SEROQUEL® and its subsequent release into the market, adverse event reports involving
weight gain and hyperglycemia were filed with the FDA’s MedWatch database.
AstraZeneca further admits that those adverse event reports are publicly available on the
FDA’s MedWatch database. AstraZeneca denies that the allegations of paragraph 19
accurately characterize the type or number of adverse event reports filed with the
MedWatch database. To the extent the allegations of paragraph 19 are inconsistent with
the information contained on that database, they are denied. AstraZeneca denies any
remaining or inconsistent allegations of paragraph 19.

20. On September 11, 2003, the FDA informed all manufacturers of atypical
antipsychotic drugs, including Defendants, that due to an increasing prevalence of

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diabetes-related illnesses associated with this class of drugs, all labeling must bear the
following language in the Warnings section:

Hyperglycemia, in some cases extreme and associated with
ketoacidosis or hyperosmolar coma or death, has been
reported in patients treated with atypical antipsychotics.
Assessment of the relationship between atypical
antipsychotic use and glucose abnormalities is complicated
by the possibility of an increased background risk of
diabetes mellitus in patients with schizophrenia and the
increasing incidence of diabetes mellitus in the general
population. Given these confounders, the relationship
between atypical antipsychotic use and hyperglycemia-
related adverse events is not completely understood.
However, epidemiologic studies suggest an increased risk
of treatment emergent hyperglycemia-related adverse
events in patients treated with atypical antipsychotics.
Precise risk estimates for hyperglycemia-related adverse
events in patients treated with atypical antipsychotics are
not available.

Patients with an established diagnosis of diabetes mellitus
who are started on atypical antipsychotics should be
monitored regularly for worsening of glucose control.
Patients with risk factors for diabetes mellitus (e.g., obesity,
family history of diabetes) who are starting treatment with
atypical antipsychotics should undergo fasting blood
glucose testing at the beginning of treatment and
periodically during treatment. Any patient treated with
atypical antipsychotics should be monitored for symptoms
of hyperglycemia including polydipsia, polyuria,
polyphagia, and weakness. Patients who develop
symptoms of hyperglycemia during treatment with atypical
antipsychotics should undergo fasting blood glucose
testing. In some cases, hyperglycemia has resolved when
the atypical antipsychotic was discontinued; however, some
patients required continuation of anti-diabetic treatment
despite discontinuation of the suspect drug.

ANSWER: AstraZeneca admits that it received a letter from the FDA dated
September 11, 2003, directed to all manufacturers of atypical antipsychotics, which

provided class labeling that included warnings related to glucose dysregulation.

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AstraZeneca denies that SEROQUEL® causes diabetes. AstraZeneca denies that
paragraph 20 accurately quotes the class labeling or accurately characterizes the FDA’s
letter of September 11, 2003. AstraZeneca denies any remaining or inconsistent
allegations of paragraph 20.

21. Despite the FDA action, Defendants waited until January 30, 2004 to send
out a “Dear Doctor” letter attempting to advise treating physicians of the new warnings.
On April 22, 2004 Defendants were forced to send out a revised “Dear Doctor” letter due
to the fact that the first one was misleading, as it potentially downplayed the need to

continually monitor a patient’s blood sugar levels while on the drug. This critical
information did not make it into the Physicians’ Desk Reference until the 2005 edition.

ANSWER: AstraZeneca admits that it submitted a proposed Dear Health Care
Provider Letter to the FDA for review in the Fall of 2003, which, following approval by
the FDA, was issued on January 30, 2004. AstraZeneca further admits that on April 22,
2004, it issued a second Dear Health Care Provider letter, which included information
inadvertently omitted from the January 30, 2004, letter. AstraZeneca denies Plaintiffs’
characterization of the 2004 Dear Health Care Provider letters and specifically denies that
AstraZeneca was “forced” to issue a letter in April 2004 because “the first one was
misleading.” AstraZeneca denies any remaining or inconsistent allegations of paragraph
21.

22. In January 2006, Defendants were notified that the U.S. Attorney’s Office

in Los Angeles, California had commenced an investigation of Defendants’ field
promotional activities related to its products, including Seroquel.

ANSWER: AstraZeneca admits that in January of 2006 it received notice of an
investigation by the U.S. Attorney’s Office in Los Angeles into field promotional
activities in the area served by AstraZeneca’s Los Angeles regional business center.

AstraZeneca denies any remaining or inconsistent allegations of paragraph 22.

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23. Despite Defendants’ knowledge regarding the safety risks its drug posed,
they continued to ignore, downplay, sidestep, and delay the dissemination of open and
frank information that patients and physicians needed to avoid the life-threatening
injuries that Seroquel could cause. As a result of this callous disregard for human safety
in the name of profits, Plaintiffs have suffered the injuries, damages, and losses
complained of herein.

ANSWER: AstraZeneca denies the allegations of paragraph 23.
V. DISCOVERY RULE & FRAUDULENT CONCEALMENT

24. The nature of the Plaintiffs’ injuries and their relationship to Seroquel use
were inherently undiscoverable; and, consequently, the discovery rule should be applied
to toll the running of the statute of limitations until Plaintiffs knew or through the
exercise of reasonable care and diligence should have known of the existence of their
claims against Defendants. Plaintiffs did not discover, and through the exercise of
reasonable care and due diligence, could not have discovered, their injuries earlier.

ANSWER: AstraZeneca states that the allegations contained in paragraph 24
of the Complaint are legal conclusions to which no response is required. To the extent
that the allegations are construed as factual allegations, AstraZeneca denies same.

25. Further, Plaintiffs did not have knowledge of facts that would lead a
reasonable, prudent person to make inquiry to discover Defendants’ tortious conduct.
Under appropriate application of the “discovery rule,” Plaintiffs’ suit was filed well
within the applicable statutory limitations period.

ANSWER: AstraZeneca states that the allegations contained in paragraph 25
of the Complaint are legal conclusions to which no response is required. To the extent
that the allegations are construed as factual allegations, AstraZeneca denies same.

26. Defendants affirmatively and intentionally lulled, induced, and otherwise
prevented Plaintiffs from discovering the existence of their various causes of action
against Defendants through its fraudulent acts, omissions, concealments, and suppression
of the dangers associated with its drug and other information necessary to put Plaintiffs
on notice. Plaintiffs have therefore been kept in ignorance of vital information essential
to the pursuit of their claims, without any fault or lack of diligence on their part.

Plaintiffs could not reasonably have discovered the fraudulent nature of Defendants’
conduct. Accordingly, Defendants are estopped from relying on any statute of limitations
to defeat any of Plaintiffs’ claims.

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ANSWER: AstraZeneca denies the allegations of paragraph 26.
VIL CAUSES OF ACTION
A. STRICT PRODUCTS LIABILITY
27. Defendants are liable as the manufacturers, distributors and/or sellers of
Seroquel because Seroquel, when sold, was in a defective and unreasonably dangerous

condition. Defendants owed a strict duty to Plaintiffs not to harm Plaintiffs through the
use of their drug.

ANSWER: AstraZeneca states that the allegations of paragraph 27 are legal
conclusions to which no response is required. To the extent that the allegations of
paragraph 27 are construed as factual allegations, they are denied.

1. DESIGN DEFECT

28. Seroquel was defective in design and/or formulation in that, when it left
the hands of Defendants and/or its representatives, the foreseeable risks of serious harm
posed by the drug outweighed its alleged benefits. The foreseeable risks of serious harm
were so great that Plaintiffs, and the general public, having known of such foreseeable

risks and alleged benefits, would not have ingested Seroquel.

ANSWER: AstraZeneca denies the allegations of paragraph 28.
29. Seroquel was placed into the stream of commerce by Defendants, acting
through authorized agents, servants, employees and/or representatives. Plaintiffs were

prescribed Seroquel by Plaintiffs’ physicians and used the drugs in a manner reasonably
foreseeable by Defendants.

ANSWER: AstraZeneca admits that, pursuant to FDA approval, it distributes,
supplies, and sells SEROQUEL® for prescription by licensed physicians in the State of
Massachusetts and elsewhere in the United States. AstraZeneca lacks knowledge or
information sufficient to admit or deny whether Plaintiffs were prescribed SEROQUEL®

by Plaintiffs’ physicians or whether Plaintiffs used SEROQUEL® in a manner

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reasonably foreseeable by AstraZeneca, and therefore denies same. AstraZeneca denies
any remaining or inconsistent allegations of paragraph 29.

30. The Seroquel ingested by Plaintiffs was expected to and did reach
Plaintiffs without substantial change in its condition as tested, manufactured, designed,
labeled, packaged, marketed and distributed. As a result of their use of Seroquel,
Plaintiffs suffered severe, permanent and disabling injuries and related damages.

ANSWER: AstraZeneca lacks knowledge or information sufficient to admit or
deny the allegation that the SEROQUEL® allegedly ingested by Plaintiffs reached
Plaintiffs without substantial change in its condition. AstraZeneca denies the remaining

allegations of paragraph 30.

2. MARKETING DEFECT-INADEQUATE AND IMPROPER WARNINGS

31. Seroquel was marketed to physicians to be prescribed to their patients and
was marketed and advertised directly to the consuming public. Seroquel, as
manufactured and supplied to healthcare professionals and the general public, was
unaccompanied by proper warnings regarding the serious risks of ingesting the drug. The
information provided to consumers did not reflect Defendants’ knowledge that Seroquel
was not safe and effective as indicated in its aggressive marketing campaign, nor were
consumers made aware that ingesting the drug could result in serious injury, pain and
discomfort and/or death. Additionally, Defendants committed overt acts and issued
doublespeak in order to downplay the truth which began to surface. This information
began to emerge in the form of adverse event reports, medical studies, and the 2003 FDA
labeling change mandate. Any attempts by Defendants to satisfy its duty to warn were
compromised by the backdrop of Defendants’ actions. Full and proper warnings that
accurately and fully reflected the risks of serious injury and/or sudden death due to the
ingestion of Seroquel should have been disclosed by Defendants.

ANSWER: AstraZeneca admits that, pursuant to FDA approval, it
manufactures, labels, advertises, markets, distributes, supplies, and sells SEROQUEL®
for prescription by licensed physicians in the State of Massachusetts and elsewhere in the

United States. AstraZeneca denies the remaining allegations of paragraph 31.

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32. Plaintiffs were prescribed Seroquel by physicians who utilized the drug in
a manner reasonably foreseeable by Defendants. Seroquel was expected to and did reach
Plaintiffs without substantial change in its condition as tested, manufactured, designed,
labeled, packaged, marketed and distributed. Plaintiffs were not aware of, and could not
have reasonably discovered, the unreasonably dangerous nature of Seroquel.

ANSWER: AstraZeneca lacks knowledge or information sufficient to admit or
deny whether Plaintiffs were prescribed SEROQUEL® by their physicians or whether
any such physicians used SEROQUEL® in a manner reasonably foreseeable by
AstraZeneca. AstraZeneca further lacks knowledge or information sufficient to admit or
deny whether any SEROQUEL® reached Plaintiffs without substantial change in its
condition. AstraZeneca denies that SEROQUEL® is unreasonably dangerous in nature.
AstraZeneca denies the remaining allegations of paragraph 32.

33. As the producing cause and legal and direct result of the failure to warn
consumers of the defective condition of Seroquel, as manufactured and/or supplied by
Defendants and its representatives, Plaintiffs have suffered severe, permanent and
disabling injuries and related damages.

ANSWER: AstraZeneca denies the allegations of paragraph 33.
B. NEGLIGENCE

34. Defendants owed Plaintiffs legal duties in connection with putting
Seroquel into the marketplace to be ingested by potential patients such as Plaintiffs.
Defendants breached its duties, proximately causing Plaintiffs’ injuries. Specifically,
Defendants failed to meet its duties to use reasonable care in the testing, creating,
designing, manufacturing, labeling, packaging, marketing, selling, and warning of
Seroquel. Defendants is liable for acts and/or omissions amounting to negligence, gross
negligence and/or malice including, but not limited to the following:

a. Failure to adequately warn Plaintiffs and Plaintiffs’ physicians of the
respective known or reasonably foreseeable danger that Plaintiffs would
suffer a serious injury or death by ingesting Seroquel;

b. Failure to adequately warn Plaintiffs and Plaintiffs’ physicians of the
known or reasonably foreseeable danger that Plaintiffs would suffer a
serious injury or death by ingesting Seroquel in unsafe doses;

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i.

Failure to use reasonable care in testing and inspecting Seroquel, so as to
ascertain whether or not it was safe for the purpose for which it was
designed, manufactured and sold;

Failure to use reasonable care in implementing and/or utilizing a
reasonably safe design in the manufacture of Seroquel;

Failure to use reasonable care in the process of manufacturing Seroquel in
a reasonably safe condition for the use for which it was intended,

Failure to use reasonable care in the manner and method of warning
Plaintiffs and Plaintiffs’ physicians as to the danger and risks of using
Seroquel in unsafe doses;

Failing to use reasonable care in maintaining its continuing duty to warn
Plaintiffs and Plaintiffs’ physicians of after acquired knowledge;

Failure to use reasonable care under the circumstances in acquiring
information about patient experience with actual usage of Seroquel,
observed effects of Seroquel, monitoring and analyzing information on the
quality, safety, efficacy, and all other aspects of reasonable vigilance and
ongoing monitoring of a dangerous pharmaceutical (e.g. negligent
pharmacovigilance); and,

Such further acts and/or omissions that may be proven at trial.

ANSWER: AstraZeneca states that the allegations of paragraph 34, including

all its subparts, are legal conclusions to which no response is required. To the extent that

the allegations of paragraph 34 and its subparts are construed as factual allegations,

AstraZeneca denies that paragraph 34 and its subparts fully and accurately state

AstraZeneca’s duties under the applicable law. AstraZeneca admits that, pursuant to

FDA approval, it manufactures, distributes, supplies, and sells SEROQUEL® for

prescription by licensed physicians in the United States. AstraZeneca denies the

remaining allegations of paragraph 34, including all its subparts.

35.

The above-described acts and/or omissions of Defendants were direct and

proximate causes of Plaintiffs’ injuries, diseases, and damages complained of herein.

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ANSWER: AstraZeneca denies the allegations of paragraph 35.
C. INTENTIONAL MISREPRESENTATION

36. | Defendants made material representations that were false and that were
either known to be false when made or were asserted recklessly without knowledge of
their truth. These misrepresentations involved material facts concerning the character
and quality of the drug in question, and reasonably implied to consumers that Seroquel
was safe and would not cause injury. Defendants failed to disclose material facts
regarding the dangerous propensities of Seroquel that were known to Defendants and
within the knowledge of Defendants. Defendants were well aware of the lack of
knowledge on behalf of consumers such as Plaintiffs, and of the incredible disparity
between Defendants’ and Plaintiffs’ opportunity to fully appreciate and discover the
dangerous character of Seroquel. By failing to disclose the knowledge known and
appreciated by Defendants, Defendants intended to induce Plaintiffs and their physicians
into continuing to prescribe, purchase and use Seroquel without worry. Without
appropriate knowledge and the benefit and right of informed choice regarding the dangers
known to Defendants, Plaintiffs’ suffered the injuries, diseases, and damages complained
of herein.

ANSWER: AstraZeneca denies the allegations of paragraph 36.

37. Defendants had in its possession adverse drug event reports, drug studies,
and other documentation about Seroquel, and yet made the following misrepresentations:

a. Misrepresentations regarding the respective frequency of Seroquel-related
adverse event reports or occurrences in the drug’s label, package insert or
PDR label;

b. Misrepresentations as to the respective existence, occurrence and
frequency of occurrences, severity and extent of the overall risks of
Seroquel;

c. Misrepresentations as to the respective efficacy of Seroquel for both FDA
approved and non-approved indications;

d. Misrepresentations as to the respective number of adverse events and
deaths reported with the use of Seroquel; and,

e. Misrepresentations regarding the respective nature, seriousness, and
severity of adverse events reported with the use of Seroquel.

ANSWER: AstraZeneca denies the allegations of paragraph 37, including all

its subparts.

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38. Defendants intended that these misrepresentations be relied upon by
physicians, including Plaintiffs’ physicians, healthcare providers and consumers,
Plaintiffs did rely upon the misrepresentations that caused Plaintiffs’ injuries.

ANSWER: AstraZeneca denies the allegations of paragraph 38.

39. As a proximate cause and legal and direct result of Defendants’
misrepresentations, Plaintiffs’ suffered the injuries, diseases, and damages complained of
herein.

ANSWER: AstraZeneca denies the allegations of paragraph 39.
D. NEGLIGENT MISREPRESENTATION

40. Long after Defendants became aware of the risks posed by the ingestion of
Seroquel, Defendants failed to communicate those risks to Plaintiffs and the general
public. Instead, Defendants continued to represent in its marketing that Seroquel was
safe and effective.

ANSWER: AstraZeneca denies the allegations of paragraph 40. By way of
further response, AstraZeneca states that the FDA has concluded that SEROQUEL® is
safe and effective when prescribed and used in accordance with the FDA-approved
labeling.

41. Plaintiffs bring this cause of action against Defendants under the theory of
negligent misrepresentation for the following reasons:

a. Defendants, individually, and through its agents, representatives,
distributors and/or employees, negligently misrepresented material facts
about Seroquel, in that they made such misrepresentations when they
knew or reasonably should have known of the falsity of such
misrepresentations. Alternatively, Defendants made such
misrepresentations without exercising reasonable care to ascertain the
accuracy of these representations;

b. These misrepresentations were made in the course of Defendants’ sales of
Seroquel to the general public, Plaintiffs and Plaintiff’s physicians for the
purpose of inducing continued sales and use of Seroquel;

c. Defendants knew that the risk of severe physical harm existed as a result
of its misrepresentations;

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d. Plaintiffs and Plaintiffs’ healthcare providers justifiably relied on
Defendants’ misrepresentations; and

€. Consequently, Plaintiffs ingested Seroquel to Plaintiffs’ detriment.

ANSWER: AstraZeneca denies the allegations of paragraph 41, including all
its subparts.

42. Defendants’ negligent misrepresentations were direct and proximate
causes of Plaintiffs’ injuries, diseases, and damages complained of herein.

ANSWER: AstraZeneca denies the allegations of paragraph 42.
E. EXPRESS WARRANTY

43. Defendants are merchants and/or sellers of Seroquel. Defendants sold
Seroquel to consumers, including Plaintiffs, for the ordinary purpose for which such
drugs are used by consumers. Defendants made representations to Plaintiffs about the
quality or characteristics of Seroquel by affirmation of fact, promise and/or description.

ANSWER: AstraZeneca admits that, pursuant to FDA approval, it sells
SEROQUEL-® for prescription by licensed physicians in the United States. AstraZeneca
denies the remaining allegations of paragraph 43.

44, The representations by Defendants became part of the basis of the bargain
between Defendants and Plaintiffs. Seroquel did not comport with the representations
made by Defendants in that it was not safe for the use for which it was marketed.
Plaintiffs have notified Defendants that Defendants has breached its express warranties.
This breach of warranty by Defendants was a proximate cause of the injuries and
monetary loss suffered by Plaintiffs.

ANSWER: AstraZeneca denies the allegations of paragraph 44.
F. IMPLIED WARRANTY
1. WARRANTY OF MERCHANTABILITY
45. Defendants are merchants and/or sellers of Seroquel. Plaintiffs purchased
Seroquel as placed in the stream of commerce by Defendants and used it for the ordinary
purpose for which such drugs are used by consumers. At the time it was purchased by

Plaintiffs, Seroquel was not fit for the ordinary purpose for which such drugs are used
because it was not manufactured, designed or marketed in a manner to accomplish its

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purpose safely. Defendants’ breach of its implied warranty of merchantability was a
direct and proximate cause of Plaintiffs’ injuries, diseases, and damages complained of
herein.

ANSWER: AstraZeneca admits that, pursuant to FDA approval, it sells
SEROQUEL® for prescription by licensed physicians in the United States. AstraZeneca
denies the remaining allegations of paragraph 45.

2. WARRANTY OF FITNESS

46. Defendants placed Seroquel into the stream of commerce with the
knowledge that Plaintiffs’ were purchasing said drugs for a particular purpose. Further,
Defendants knew, or should have known, that Plaintiffs were relying on Defendants’ skill
or judgment to select goods fit for Plaintiffs’ purpose.

ANSWER: AstraZeneca denies the allegations of paragraph 46.

47. Defendants delivered goods that were unreasonably dangerous and unfit
for Plaintiffs’ particular purpose, in that they were defectively designed and did not come
with adequate warnings.

ANSWER: AstraZeneca denies the allegations of paragraph 47.

48. Defendants’ failure to select and sell a product which was reasonably safe
for its intended use was a direct and proximate cause of Plaintiffs’ injuries, diseases, and
damages complained of herein.

ANSWER: AstraZeneca denies the allegations of paragraph 48.
G. CIVIL CONSPIRACY

49. Defendants knowingly agreed, contrived, combined, confederated and
conspired amongst themselves and with captured research groups, physicians, and trade
groups to cause Plaintiffs’ injuries, diseases, and damages by continuous downplaying of
the risks associated with Seroquel in the name of more sales. They further conspired to
deprive consumers such as Plaintiffs of the opportunity of informed free choice as to
whether to use Seroquel or to expose themselves to its hidden dangers. Defendants
committed the above described wrongs by willfully misrepresenting and suppressing the
truth as to the risks and dangers associated with the use of Seroquel.

ANSWER: AstraZeneca denies the allegations of paragraph 49.

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50. In furtherance of said conspiracies, Defendants and its co-conspirators
performed the following overt acts:

a. For years, Defendants and its co-conspirators, have been in possession of
medical and scientific data, literature, test reports, doctors’ inquiries and
adverse event reports which clearly indicated that Seroquel and other
antipsychotic drugs could cause diabetes, diabetes-related injuries (e.g.
severe weight gain, hyperglycemia, diabetic ketoacidosis), pancreatitis,
cardiovascular complications, and other severe adverse effects; and,

b. Despite the medical and scientific data, literature, and test reports
possessed by and available to Defendants, Defendants and its co-
conspirators fraudulently, willfully, and maliciously:

i. Withheld, concealed, and suppressed said medical and scientific
data, literature, test reports, doctors’ inquiries and adverse event
reports regarding the risks of diabetes, diabetes-related injuries
(e.g. severe weight gain, hyperglycemia, diabetic ketoacidosis),
pancreatitis, cardiovascular complications, and other severe
adverse effects from the general public, Plaintiffs and Plaintiffs’
physicians; and

il. Caused to be released, published and disseminated medical and
scientific data, literature, test reports, and marketing and
promotional materials containing information and statements
regarding the risks of diabetes, diabetes-related injuries (e.g. severe
weight gain, hyperglycemia, diabetic ketoacidosis), pancreatitis,
cardiovascular complications, and other severe adverse effects,
which Defendants knew were incorrect, incomplete, outdated and
misleading.

ANSWER: AstraZeneca denies the allegations of paragraph 50, including all
its subparts.

51. By the false and fraudulent representations, omissions and concealments
set forth above, Defendants and its co-conspirators intended to induce Plaintiffs and
Plaintiffs’ physicians to rely upon said false and fraudulent representations, omissions
and concealments, to continue to expose themselves to the dangers inherent in the use of
Seroquel.

ANSWER: AstraZeneca denies the allegations of paragraph 51.

52. As aresult of their participation in the joint venture of designing, testing,
monitoring, manufacturing, labeling, advertising, marketing, promoting, selling and

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distributing Seroquel, all Defendants can be held liable jointly and severally for
Plaintiffs’ injuries, diseases, and damages complained of herein.

ANSWER: AstraZeneca states that the allegations of paragraph 52 are legal
conclusions to which no response is required. To the extent that the allegations of
paragraph 52 are construed as factual allegations, they are denied.

53. Defendants’ participation in this conspiracy was a direct and proximate
cause of Plaintiffs’ injuries, diseases, and damages complained of herein.

ANSWER: AstraZeneca denies the allegations of paragraph 53.
VU. DAMAGES

54. Upon trial of this case, Plaintiffs respectfully request the Court and Jury to
determine the amount of loss Plaintiffs have incurred in the past and will incur in the
future, not only from a financial standpoint, but also in terms of good health and freedom
from pain and worry. There are certain elements of damages provided by law that
Plaintiffs are entitled to have the Jury separately consider to reasonably compensate
Plaintiffs for the injuries, damages and losses incurred, as well as those to be incurred in
the future. Plaintiffs have been damaged as a result of Defendants’ acts and omissions
complained of herein in the following particulars:

a. Plaintiffs have incurred medical, pharmaceutical, hospital, and related
expenses and may be reasonably expected to incur additional expenses in
the future due to the progressive nature of their injuries;

b. The likely progression and related life-threatening medical conditions
reasonably anticipated to accompany Plaintiffs’ injuries will require
lifetime medical monitoring as well as domestic help and nursing care as
their conditions deteriorates;

c. Plaintiffs are subject to an extraordinarily increased likelihood of
developing heart disease, strokes, high blood pressure, blindness, kidney
disease, nervous system disease, amputations, dental disease, pregnancy
complications, sexual dysfunction, and other diabetes related
complications;

d. Plaintiffs have endured pain and suffering, mental and emotional anguish
and anxiety, and loss of the enjoyment of a normal life as a result of their
injuries, and they will continue to endure the same in the future;

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e. Plaintiffs have had their future wage earning capacity impaired as a result
of their injuries;

f. Plaintiffs will likely suffer from a degree of permanent physical
impairment, disability, and disfigurement as a result of their injuries as
they progress in the future;

g. Plaintiffs have been and will otherwise be prevented from participating in
and enjoying the benefits of a full and complete life;

h. Plaintiffs’ spouses, where named, also seek damages for loss of
consortium; and,

i. Plaintiffs assert a claim for prejudgment interest on all elements of
damages as allowed by law.

ANSWER: _ To the extent paragraph 54 and its subparts state legal conclusions,
no response is required. To the extent that the allegations of paragraph 54, including all it
subparts, are construed as factual allegations, they are denied.

VIII. WRONGFUL DEATH & SURVIVAL DAMAGES

55. In the case where Plaintiffs have suffered a wrongful death due to
Defendants’ acts and omissions complained of herein, Plaintiffs’ heirs and
representatives seek compensation for the following general and special damages
including, but not limited to, damages for survival and wrongful death claims that
Plaintiffs have sustained both in their individual capacity and as personal representatives
of the estate:

a. The conscious physical pain and suffering sustained by Decedent prior to
their death;

b. The mental anguish sustained by Decedent prior to their death;

c. The physical impairment suffered by Decedent prior to their death;

d. The disfigurement suffered by Decedent prior to their death;

e. Reasonable and necessary medical expenses incurred by Decedent prior to
their death;

f. Reasonable funeral and burial expenses incurred by Decedent and their
estate;

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g. Decedent’s lost earning capacity;

h. The loss of household services, consortium, pecuniary loss,
companionship and society which Plaintiffs received from Decedent prior
to their last illnesses and death;

i. The mental anguish suffered by Plaintiffs as a consequence of the last
illnesses and death of Decedent; and,

j Prejudgment interest on all elements of damages as allowed by law.

ANSWER: AstraZeneca denies the allegations of paragraph 55, including all
its subparts.

VHI. PUNITIVE DAMAGES!

56. At all times relevant hereto, Defendants had actual knowledge of the
defective nature of Seroquel as set forth herein and continued to design, manufacture,
market, distribute and sell it so as to maximize sales and profits at the expense of the
public’s health and safety and in conscious disregard of the foreseeable serious harm
caused by the drug. Defendants’ conduct exhibits such an entire want of care as to
establish that its actions were a result of fraud, ill will, recklessness, gross negligence,

malice and/or willful and intentional disregard for the safety and rights of consumers of its
drugs such as Plaintiffs. Plaintiffs are therefore entitled to punitive damages.

ANSWER: AstraZeneca denies the allegations of paragraph 56.
FIRST AFFIRMATIVE DEFENSE
Plaintiffs’ alleged injuries were proximately caused by circumstances, events, or
persons over whom AstraZeneca had no authority or control and for which AstraZeneca
is not answerable in damages to Plaintiffs.
SECOND AFFIRMATIVE DEFENSE
Plaintiffs and their agents, including Plaintiffs’ Physicians, assumed the risks, if

any, inherent in the use of SEROQUEL®.

 

' This section is erroneously numbered VIII in Plaintiffs’ Complaint. For consistency,
the numbering of Plaintiffs’ Complaint is repeated here.

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THIRD AFFIRMATIVE DEFENSE
To the extent Plaintiffs’ claims were caused by the actions, omissions or products
of persons or entities, over whom AstraZeneca has no dominion, authority or control,
AstraZeneca is entitled to have its liability to the Plaintiffs, if any, reduced as a result of
the negligence or fault of said persons or entities, pursuant to applicable law.
FOURTH AFFIRMATIVE DEFENSE
Plaintiffs’ recovery is barred and/or should be reduced under applicable law
because of Plaintiffs’ contributory negligence or fault and/or comparative negligence or
fault.
FIFTH AFFIRMATIVE DEFENSE
Plaintiffs’ alleged injuries, if related to Plaintiffs’ use of SEROQUEL®, were
caused by an unforeseeable material and substantial alteration, change, improper
handling, or misuse of the product after it left the control of AstraZeneca.
SIXTH AFFIRMATIVE DEFENSE
The New Drug Application for SEROQUEL® was approved by the United States
Food and Drug Administration under the applicable statute, 21 U.S.C. § 301 et seg., and
regulations promulgated thereunder. Compliance with such statutes and regulations by
AstraZeneca demonstrates that SEROQUEL® was safe and effective and not
unreasonably dangerous and, further, preempts and bars Plaintiffs’ claims against
AstraZeneca. Compliance with such regulations also demonstrates that due care was
exercised with respect to the design, manufacture, testing, marketing and sale of this

prescription drug, and that it was neither defective nor unreasonably dangerous.

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SEVENTH AFFIRMATIVE DEFENSE

Plaintiffs’ claims are preempted, in whole or in part, by federal law pursuant to
the Supremacy Clause of the United States Constitution because of the pervasive federal
regulation of prescription drug manufacturing, testing, marketing, and labeling.

EIGHTH AFFIRMATIVE DEFENSE

All labeling for SEROQUEL® has been approved by the United States Food and
Drug Administration under the applicable statute, 21 U.S.C. § 201 et seq., and regulations
promulgated thereunder. As the agency charged with implementing the Food, Drug, and
Cosmetic Act, the FDA affirmatively has stated that “under existing preemption
principles, FDA approval of labeling . . . preempts conflicting or contrary State law.” 71
Fed. Reg. at 3,934. Moreover, the FDA has stated, “Given the comprehensiveness of
FDA regulation of . . . labeling under the act, additional requirements for the disclosure
of risk information are not necessarily more protective of patients. Instead, they can
erode and disrupt the careful and truthful representations of benefits and risks that
prescribers need to make appropriate judgments about drug use. Exaggeration of risk
could discourage appropriate use of a beneficial drug.” Jd. at 3,935. Plaintiffs’ claims
based on the labeling for SEROQUEL® are therefore preempted by federal law pursuant
to the Supremacy Clause of the United States Constitution.

NINTH AFFIRMATIVE DEFENSE

Plaintiffs’ claims against AstraZeneca are barred as a matter of law pursuant to

relevant provisions of the Restatement (Third) of Torts and the Restatement (Second) of

Torts, including, but not limited, to Section 402A, comment k.

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TENTH AFFIRMATIVE DEFENSE
Persons other than AstraZeneca stood in the position of learned intermediary
between Plaintiffs and AstraZeneca which therefore owed and breached no duty to warn
Plaintiffs directly, and the SEROQUEL® Plaintiffs allegedly used was therefore neither
unreasonably dangerous nor defective by virtue of any alleged absence of adequate
warnings or instructions.
ELEVENTH AFFIRMATIVE DEFENSE
Plaintiffs’ Complaint fails to state a claim upon which relief can be granted
against AstraZeneca in that the methods, standards, and techniques utilized with respect
to the design, manufacture, marketing and sale of the prescription drug SEROQUEL®,
including adequate warnings and instructions with respect to the product’s use included
in the product’s package insert and other literature, conformed to the applicable state of
the art, and the applicable standard of care based upon available medical and scientific
knowledge.
TWELFTH AFFIRMATIVE DEFENSE
Plaintiffs’ claims are barred, in whole or in part, by the applicable statutes of
limitations and/or repose.
THIRTEENTH AFFIRMATIVE DEFENSE
Plaintiffs’ Complaint against AstraZeneca fails to state a clatm upon which relief

may be granted.

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FOURTEENTH AFFIRMATIVE DEFENSE

Plaintiffs’ claims against AstraZeneca are barred, in whole or in part, by laches,

waiver and/or estoppel.
FIFTEENTH AFFIRMATIVE DEFENSE

Plaintiffs’ claims are barred, in whole or in part, by Plaintiffs’ failure to mitigate

alleged damages.
SIXTEENTH AFFIRMATIVE DEFENSE

The injuries and damages claimed by Plaintiffs, if any, resulted from an
intervening or superseding cause and/or causes, and any act or omission on the part of
AstraZeneca was not the proximate and/or competent producing cause of such alleged
injuries and damages.

SEVENTEENTH AFFIRMATIVE DEFENSE

The alleged injuries and damages, if any, were the result of unavoidable

circumstances that could not have been prevented by any person, including AstraZeneca.
EIGHTEENTH AFFIRMATIVE DEFENSE

Plaintiffs’ Complaint fails to state a claim upon which relief can be granted for

several or joint and several liability.
NINETEENTH AFFIRMATIVE DEFENSE

Plaintiffs’ claims are barred in whole or in part because the commercial speech

relating to SEROQUEL® was not false or misleading and is protected under the First

Amendment to the United States Constitution and the applicable state constitution.

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TWENTIETH AFFIRMATIVE DEFENSE
Plaintiffs’ claims regarding warnings and labeling are barred in whole or in part
by the doctrine of primary jurisdiction, in that the FDA is charged under law with
determining the content of warnings and labeling for prescription drugs.
TWENTY-FIRST AFFIRMATIVE DEFENSE
This Court should abstain from adjudicating Plaintiffs’ claims relating to
warnings and labeling in deference to the interpretation of regulations relating to
prescription drug labeling by the FDA.
TWENTY-SECOND AFFIRMATIVE DEFENSE
Upon information and belief, each item of economic loss alleged in the Complaint
was, or with reasonable certainty will be, replaced or indemnified in whole or in part
from collateral sources.
TWENTY-THIRD AFFIRMATIVE DEFENSE
Plaintiffs did not detrimentally rely on any labeling, warnings, or information
concerning SEROQUEL®.
TWENTY-FOURTH AFFIRMATIVE DEFENSE
Plaintiffs’ alleged injuries and damages, if any, were the result of an idiosyncratic
reaction which AstraZeneca could not reasonably foresee.
TWENTY-FIFTH AFFIRMATIVE DEFENSE
Plaintiffs, or Plaintiffs’ physicians, were aware or should have been aware of any
potential hazards reported to be associated with the use of SEROQUEL® and appreciated

or should have appreciated these potential hazards based, in part, on the directions,

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information, and warnings provided by AstraZeneca and others generally available in the
medical and scientific literature. Therefore, Defendant AstraZeneca had no duty to warn
of any alleged danger or defect.
TWENTY-SIXTH AFFIRMATIVE DEFENSE

Plaintiffs are barred from recovering any damages by virtue of the fact that there
was no practical or technically feasible alternative design or formulation that would have
prevented the harm alleged by the Plaintiffs without substantially impairing the
usefulness or intended purpose of the product.

TWENTY-SEVENTH AFFIRMATIVE DEFENSE

Plaintiffs’ claims for breach of warranty are barred because Plaintiffs failed to

give timely notice of any alleged breach of warranty.
TWENTY-EIGHTH AFFIRMATIVE DEFENSE

AstraZeneca did not sell or distribute the prescription drug SEROQUEL® directly
to Plaintiffs, and Plaintiffs did not receive or rely upon any representations or warranties
as alleged in the Complaint. Plaintiffs’ claims for breach of warranty are therefore barred
by lack of privity between Plaintiffs and AstraZeneca.

TWENTY-NINTH AFFIRMATIVE DEFENSE

Plaintiffs’ claims for breach of warranty, express or implied, are barred by the

applicable provisions of the applicable state’s Uniform Commercial Code.
THIRTIETH AFFIRMATIVE DEFENSE
Plaintiffs’ claims are barred, in whole or in part, to the extent that they purport to

impose liability upon AstraZeneca for any conduct in which it engaged in the exercise of

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its rights under federal law, including, without limitation, the Constitution of the United
States and the First Amendment thereto.
THIRTY-FIRST AFFIRMATIVE DEFENSE
Plaintiffs’ Complaint fails to state a claim for which relief can be granted for
fraud, misrepresentation, omission, or concealment insofar as Plaintiffs have failed to
plead such claims with sufficient particularity as required by Rule 9(b) of the Federal
Rules of Civil Procedure.
THIRTY-SECOND AFFIRMATIVE DEFENSE
Plaintiffs’ Complaint fails to state a claim for which relief can be granted for
fraud, misrepresentation, omission, or concealment.
THIRTY-THIRD AFFIRMATIVE DEFENSE
This Court is not the proper forum and is not a convenient forum for the
adjudication of Plaintiffs’ claims.
THIRTY-FOURTH AFFIRMATIVE DEFENSE
This Court is not the proper venue.
THIRTY-FIFTH AFFIRMATIVE DEFENSE
The joinder of multiple plaintiffs in this action is improper under Fed. R. Civ. P.
20 and 21.
THIRTY-SIXTH AFFIRMATIVE DEFENSE
Plaintiffs’ Complaint fails to state a claim against AstraZeneca upon which relief

can be granted for punitive damages.

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THIRTY-SEVENTH AFFIRMATIVE DEFENSE

Plaintiffs’ claim for punitive damages is barred under the applicable state and
federal law, including State Farm Mut. Auto. Ins. Co. v. Campbell et al., 538 U.S. 408
(2003). Permitting recovery of punitive damages in this action would contravene
AstraZeneca’s rights as reserved by the Fifth, Seventh, Eighth, and Fourteenth
Amendments to the United States Constitution and other provisions of the United States
Constitution and the applicable state constitutions.

THIRTY-EIGHTH AFFIRMATIVE DEFENSE

Unless AstraZeneca’s liability for punitive damages and the appropriate amount
of punitive damages are required to be established by clear and convincing evidence, any
award of punitive damages would violate AstraZeneca’s due process rights guaranteed by
the Fourteenth Amendment to the United States Constitution and by the applicable state
constitutions, and also would be improper under the applicable state common law and
public policies.

THIRTY-NINTH AFFIRMATIVE DEFENSE

Plaintiffs’ claim for punitive damages against AstraZeneca cannot be maintained,
because an award of punitive damages would be void for vagueness, both facially and as
applied. Among other deficiencies, there is an absence of adequate notice of what
conduct is subject to punishment; an absence of adequate notice of what punishment may
be imposed; an absence of a predetermined limit, such as a maximum multiple of
compensatory damages or a maximum amount, on the amount of punitive damages that a

jury may impose; a risk that punitive damages will be imposed retrospectively based on

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conduct that was not deemed punishable at the time the conduct occurred; and it would
permit and encourage arbitrary and discriminatory enforcement, all in violation of the due
process clause of the Fourteenth Amendment to the United States Constitution, the
applicable state constitutions, and the applicable state common law and public policies.
FORTIETH AFFIRMATIVE DEFENSE

Plaintiffs’ claim for punitive damages against AstraZeneca cannot be maintained
because any award of punitive damages would be by a jury that: (1) is not provided
standards of sufficient clarity for determining the appropriateness, and the appropriate
size, of a punitive damages award; (2) is not adequately instructed on the limits on
punitive damages imposed by the applicable principles of deterrence and punishment; (3)
is not expressly prohibited from awarding punitive damages, or determining the amount
of an award of punitive damages, in whole or in part, on the basis of invidiously
discriminatory characteristics, including the residence, wealth, and corporate status of
AstraZeneca; (4) is permitted to award punitive damages under a standard for
determining liability for punitive damages that is vague and arbitrary and does not define
with sufficient clarity the conduct or mental state that makes punitive damages
permissible; and (5) is not subject to adequate trial court and appellate judicial review for
reasonableness and furtherance of legitimate purposes on the basis of objective standards.
Any such verdict would violate AstraZeneca’s due process rights guaranteed by the
Fourteenth Amendment to the United States Constitution and by the applicable state
constitutions, and also would be improper under the applicable state common law and

public policies.

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FORTY-FIRST AFFIRMATIVE DEFENSE

To the extent that the applicable state law permits punishment to be measured by
the net worth or financial status of AstraZeneca and imposes greater punishment on
defendants with larger net worth, such an award would be unconstitutional because it
permits arbitrary, capricious and fundamentally unfair punishments, allows bias and
prejudice to infect verdicts imposing punishment, and allows dissimilar treatment of
similarly situated defendants, in violation of the due process and equal protection
provisions of the Fourteenth Amendment to the United States Constitution, the
Commerce Clause of the United States Constitution, and the applicable state
constitutions.

FORTY-SECOND AFFIRMATIVE DEFENSE

With respect to Plaintiffs’ demand for punitive damages, AstraZeneca specifically
incorporates by reference any and all standards or limitations regarding the determination
or enforceability of punitive damages awards under federal law and the applicable state
law.

FORTY-THIRD AFFIRMATIVE DEFENSE

No act or omission of AstraZeneca was willful, unconscionable, oppressive,
fraudulent, wanton, malicious, reckless, intentional, or with actual malice, with reckless
disregard for the safety of Plaintiffs or with conscious disregard and indifference to the
rights, safety and welfare of Plaintiffs, and therefore Plaintiffs’ Complaint fails to state a

claim upon which relief can be granted for punitive damages.

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FORTY-FOURTH AFFIRMATIVE DEFENSE

Plaintiffs’ Complaint seeks damages in excess of those permitted by law.
AstraZeneca asserts any statutory or judicial protection from punitive damages which is
available under the applicable law, and any award of punitive damages is barred.

FORTY-FIFTH AFFIRMATIVE DEFENSE

AstraZeneca has not knowingly or intentionally waived any affirmative defenses
and asserts all defenses available under applicable law. AstraZeneca reserves the right to
modify, clarify, amend, or supplement these separate or affirmative defenses as discovery
proceeds in this case.

JURY DEMAND
AstraZeneca hereby demands a trial by jury.
PRAYER

WHEREFORE, AstraZeneca prays that this Court enter judgment on its behalf

and against Plaintiffs, that Plaintiffs take nothing thereby, and that the Court grant

AstraZeneca such other and further relief as allowed by law.

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This the ! day of January, 2007.

Respectfully submitted,

ASTRAZENECA LP and
ASTRAZENECA PHARMACEUTICALS
LP

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CERTIFICATE OF SERVICE

 
 
 
   
  

Thereby certify that on
Answer of AstraZeneca LP an
Complaint by using the CM/
document and the notice of
CM/ECF participants:

, 1 electronically filed the foregoing
straZenéca Pharmaceuticals LP to Plaintiffs’ Original
system. I further certify that I mailed the foregoing
ctronic filing by first-class mail to the following non-

[/ Attorney

Matthew F. Pawa

Benjamin A. Krass

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